

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-76,504






EX PARTE CORNELIUS DUPREE, JR., Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


		CAUSE NO. F79-12900-RI IN THE CRIMINAL DISTRICT COURT 


			NUMBER TWO FROM DALLAS COUNTY





	Per curiam. Meyers, J., dissents.  Keasler, J., not participating. 


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated
robbery and sentenced to seventy-five years' imprisonment.  The Fifth Court of Appeals affirmed
his conviction. Dupree v. State, No. 05-81-00358-CR (Tex. App.-Dallas, March 11, 1982).  	Applicant contends that he has newly discovered evidence that he is actually innocent of this
offense. The trial court has determined that no rational jury would have convicted Applicant in light
of the new evidence, which was previously unavailable to Applicant. The evidence, obtained
pursuant to post-conviction DNA testing and investigation, indicates that it was another individual,
and not Applicant, who committed this offense. Applicant is entitled to relief. Ex parte Elizondo, 947
S.W.2d 202, 209 (Tex. Crim. App. 1996). 

	Relief is granted. The judgment in Cause No. F79-12900-RI in Criminal District Court
Number 2 of Dallas County is set aside, and Applicant is remanded to the custody of the Sheriff of
Dallas County to answer the charge against him.

	Copies of this opinion shall be sent to the Texas Department of Criminal Justice-Correctional
Institutions Division and Parole Division.


Delivered: March 2, 2011

Do Not Publish


